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UNITED STATES DISTRICT COURT vce

SOUTHERN DISTRICT OF NEW YORK | BEC: ccunn
x See Lt

UNITED STATES OF AMERICA Pee a AO4A / LO

y ORDER eee

5s0
JORGE ENCARNACION-AVALOS, 20 CR 549 (VB)
Defendant.
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A plea hearing in this case is scheduled for October 28, 2020, at 11:30 a.m. The Court
expects to conduct this proceeding in person in the Courthouse.

Per the SDNY COVID-19 Courthouse Entry Program, anyone who appears at any SDNY
courthouse must complete a questionnaire and have his or her temperature taken. The
questionnaire is located on the Court’s website at: https://www.nysd.uscourts.gov/
sites/default/files/2020-07/SDNY%20Screening%20Instructions.pdf. Completing the
questionnaire online and ahead of time will save time and effort upon entry. Only those
individuals who meet the entry requirements established by the questionnaire will be permitted
entry. Please contact Chambers if you do not meet the requirements,

Dated: October 16, 2020
White Plains, NY

SO ORDERED,

YUL

Vincent L. Briccetti
United States District Judge

 
